                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION

CRAIG CUNNINGHAM                       §
                                       §
v.                                     §      CIVIL ACTION NO. 5:22-cv-363-OLG
                                       §
WATTS GUERRA, LLP; et al.              §


 ORDER GRANTING DEFENDANTS WATTS GUERRA LLP, MIKAL C. WATTS,
           FRANCISCO GUERRA, IV, AND PAIGE BOLDT’S
              MOTION FOR SUMMARY JUDGMENT


      On this date came to be considered Defendants Watts Guerra LLP, Mikal C. Watts,

Francisco Guerra, IV, and Paige Boldt’s Motion for Summary Judgment. The Court finds

good cause to grant the relief requested by these Defendants and GRANTS the motion.

      It is therefore ORDERED that Defendants’ Motion for Summary Judgment is

GRANTED. Plaintiff’s Complaint is dismissed with prejudice as to Defendants Watts

Guerra LLP, Mikal C. Watts, Francisco Guerra, IV, and Paige Boldt.

      IT IS SO ORDERED and signed this ________ day of ___________________, 2022.




                          CHIEF U.S. DISTRICT JUDGE ORLANDO L. GARCIA
